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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                                EL PASO DIVISION
ECOFACTOR, INC.,

                   Plaintiff,         Case No. 6:23-cv-00061-KC

           v.                         JURY TRIAL DEMANDED

RESIDEO TECHNOLOGIES, INC.,

                   Defendant.



 PLAINTIFF ECOFACTOR, INC.’S MOTION TO RELATE AND REASSIGN CASE
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I.     INTRODUCTION

       Over the past three years, Plaintiff EcoFactor, Inc. (“EcoFactor”) has brought 16 patent

infringement lawsuits in the Western District of Texas, including a prior case against Defendant

Resideo Technologies, Inc. (“Resideo”): EcoFactor, Inc. v. Resideo Technologies, Inc., Case No.

6:22-cv-00069-ADA (“the -69 Case”). All of the first 15 actions were assigned to Judge Albright.

EcoFactor respectfully submits that the present action is related to, among other cases, EcoFactor’s

-69 Case against Resideo and requests that it be reassigned to Judge Albright. Given the

overlapping subject matter between these actions, as well as Judge Albright’s deep experience with

the relevant issues, reassignment will promote efficiency and consistency.

II.    ARGUMENT

       A.      The Present Action Involves Substantially the Same Issues and Evidence as
               the -69 Case Before Judge Albright and Overlaps Substantially with Other
               Non-Resideo Cases Before Judge Albright
       This action and the -69 Case will involve the same parties (EcoFactor and Resideo), the

same accused products (Resideo smart thermostat systems), much of the same prior art, and

most if not all of the same witnesses and documentary evidence. And besides those compelling

facts, the issues of the present action also substantially overlap with those of numerous other

EcoFactor cases that were filed in this District and assigned to Judge Albright. In the El Paso

Division, a case is related to another when, “it involves substantially the same issue(s) of fact or

grows out of the same transaction(s) as that case.” See El Paso Division Standing Order Relating

to Reassignment of Civil Cases. Because these cases are related, reassignment is appropriate. See

also Amended Order Assignment the Business of the Court (Nov. 15, 2022) at Item XVIII(a)

(providing that “any judge may reassign any case, matter or proceeding to another judge by mutual

consent”). This Court should not start from scratch with the present action.

       EcoFactor has brought 16 patent infringement actions in this District. See Ex. A (listing

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EcoFactor W.D. Tex. cases). All but this one—the 16th action filed—have been assigned to Judge

Albright. This includes the -69 Case that EcoFactor filed against Resideo—the same defendant

here—on January 18, 2022. Id. The -69 Case is scheduled for trial with Judge Albright in

September 2023, with fact discovery closing in April 2023 and with Judge Albright having issued

a claim construction order in October 2022. See -69 Case, Dkt. Nos. 22, 43. Given that Judge

Albright will soon be conducting a full jury trial on the merits in a case involving the same parties

and substantially the same (if not exactly the same) accused products, prior art, witnesses, and

documentary evidence, it is clear that the present action and the -69 Case are related and that

reassignment to Judge Albright is warranted.

       Rather than disprove these compelling facts, Resideo argues that relation and reassignment

would be improper because the patents asserted here (i.e., U.S. Patent No. 7,848,900 (“the ’900

patent”) and U.S. Patent No. 9,057,649 (“the ’649 patent”)) have not been asserted in other

EcoFactor cases. Dkt. No. 9 at 2. But this Division’s definition of a related case does not require

that patent numbers be identical across cases. See El Paso Division Standing Order Relating to

Reassignment of Civil Cases. Resideo’s position also ignores the substantial identity of issues of

fact across the cases and the clear overlap in subject matter between the two patents asserted here

(which share the same specification) and those in other cases before Judge Albright. See id.

       For example, U.S. Patent No. 10,584,890 (Ex. B, “the ’890 patent”) asserted in the -69

Case against Resideo names John Steinberg as its inventor, who is also a named inventor on both

patents asserted here. All but one figure of the ’900 and ’649 patents—and nearly all of their

associated descriptions—appear with only minimal changes in the ’890 patent at issue in the -69

case before Judge Albright. Compare Dkt. No. 1-3 at 1:27-2:4, 5:38-7:29, 7:40-8:9, 8:31-13:13,

Figs. 1, 2, 4, 5, 6A, 6B, 7A, 7B, 8A, 8B, 9A, 9B, 10A, 10B, 11, 12, 13, with Ex. B (’890 patent) at



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1:28-2:4, 5:21-31, 6:15-44, 6:66-8:33, 8:52-9:23, 23:4-28:9, Figs. 1, 2, 4, 5, 25A, 25B, 26A, 26B,

27A, 27B, 28A, 28B, 29A, 29B, 30, 31, 32); see also Ex. C (comparing shared specification of the

’900 and ’649 patents to that of the ’890 patent, with overlap highlighted in yellow, ’900-only

material in red, ’649-only material in blue). Below is a summary of this correspondence:

                    Dkt. No. 1-3 (’649 Patent)           Ex. B (’890 Patent)
                             1:27-2:4                           1:28-2:4
                            5:38-7:29                 5:21-31, 6:15-44, 6:66-8:33
                             7:40-8:9                          8:52-9:23
                           8:31-13:13                          23:4-28:9
                              Fig. 1                             Fig. 1
                              Fig. 2                             Fig. 2
                              Fig. 4                             Fig. 4
                              Fig. 5                             Fig. 5
                             Fig. 6A                           Fig. 25A
                             Fig. 6B                           Fig. 25B
                             Fig. 7A                           Fig. 26A
                             Fig. 7B                           Fig. 26B
                             Fig. 8A                           Fig. 27A
                             Fig. 8B                           Fig. 27B
                             Fig. 9A                           Fig. 28A
                             Fig. 9B                           Fig. 28B
                            Fig. 10A                           Fig. 29A
                             Fig. 10B                          Fig. 29B
                              Fig. 11                            Fig. 30
                              Fig. 12                            Fig. 31
                              Fig. 13                            Fig. 32

       Put simply, all but the “Summary of the Invention” of the ’900 and ’649 specification

appears nearly verbatim in the ’890 patent asserted in the -69 Case; the ’890 patent simply includes

additional disclosures on top of those. So while the ’890 patent is not the same patent as those

asserted here, nearly all of the patented subject matter at issue here also appears in the ’890 patent.

       As other examples, EcoFactor is presently asserting U.S. Patent No. 8,423,322 (“the ’322

patent”) and U.S. Patent No. 8,141,497 (“the ’497 patent”) against other defendants in Case Nos.



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6:22-cv-00033-ADA and 6:22-cv-00034-ADA, which are scheduled for trial in September 2023

before Judge Albright. Those patents also share the same specification as the ’900 and ’649 patents

asserted here, and all four claim priority to the same Provisional Application No. 60/994,011. See

Ex. D (’322 patent); Ex. E (’497 patent). Indeed, the ’649 patent, for example, explicitly notes that

it is a continuation of the ’322 patent and thus includes the exact same disclosure. See Dkt. No. 1-

3 at Cover. Judge Albright already conducted a Markman hearing in those cases in November

2022. See Ex. F (addressing numerous claim terms appearing in the patent claims at issue here).

       As yet another example, Judge Albright completed a full jury trial on the merits—and will

soon complete another one—on EcoFactor’s U.S. Patent No. 8,738,327 (“the ’327 patent”), in a

case that was filed over three years ago on January 31, 2020. See Ex. A (referencing Case Nos.

6:20-cv-00075-ADA (trial completed in February 2022) and 6:20-cv-00078-ADA (trial scheduled

for May 2023)). Like the ’900 and ’649 patents asserted here, the ’327 patent claims priority to the

same Provisional Application No. 60/994,011 and largely overlaps in its figures, description, and

claim terms. Both cases have involved a multitude of dispositive motions and Daubert motions

that were decided by Judge Albright and, according to Resideo itself, are relevant to issues in

EcoFactor’s case against Resideo.

       This high degree of overlap between the present action and numerous actions before Judge

Albright, including the -69 Case against Resideo, indicates that these cases are related and that

reassignment is appropriate.

       B.      Reassignment Will Promote Efficiency and Consistency by Leveraging Judge
               Albright’s Extenstive Experience Handling Other EcoFactor Cases—Which
               Includes a Full Trial on the Merits, Four Markman Hearings, and Numerous
               Dispositive Motions
       Judge Albright has spent years adjudicating EcoFactor patent infringement disputes,

including cases involving patents that are related to and share the same specification as the two



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patents at issue here. Resideo’s argument against reassignment is that EcoFactor’s 15 other cases

do not involve the exact same patents asserted here—but they undeniably involve patents that are

substantively identical to them. This is not a meaningful distinction when one considers the high

degree of waste and risk of inconsistencies that would result from this Court adjudicating the

present action in parallel with Judge Albright’s handling of six other still-pending EcoFactor cases,

including the -69 case against Resideo specifically. Besides having conducted a full jury trial

involving the ’327 patent (which is related to the patents at issue here), Judge Albright has also

conducted four prior Markman hearings in EcoFactor cases (including as to patents related to and

sharing the same specification as the patents asserted here). Resideo and EcoFactor are also

presently raising multiple discovery disputes with Judge Albright that may well be repeated here.

       It makes no sense for this Court to begin anew with the parties, technology, and facts

relevant here when another judge in this same District has amassed deep knowledge of the same

information over a three-year period. Courts routinely relate cases involving common patents and

issues for efficiency and consistency. See, e.g., Ideative Prod. Ventures, Inc. v. Hewlett Packard

Co., No. 4:14-cv-00021-RC, Dkt. No. 9 (E.D. Tex. Feb. 25, 2014) (Ex. G) (reassigning seven cases

filed by the same plaintiff to the same judge as an earlier filed patent case “for coordinated case

management in an effort to promote judicial efficiency”); Fin. Fusion, Inc. v. Ablaise Ltd., No. 06-

cv-2451, 2006 WL 3734292, at *3 (N.D. Cal. Dec. 18, 2006) (“Having two different judges govern

discovery disputes and construe claims in the same patents would be an unduly burdensome

duplication of labor and raise the danger of conflicting results.”). Reassigning the present action

to Judge Albright will promote judicial efficiency and avoid inconsistent results (e.g., as to claim

construction and discovery disputes).

III.   CONCLUSION



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       For the foregoing reasons, EcoFactor respectfully requests that the present action be

reassigned to Judge Albright of the Waco Division.



Date: February 14, 2023                    Respectfully submitted,


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                              CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic

service are being served on February 14, 2023, with a copy of this document via the Court’s

CM/ECF.

                                          /s/ Kristopher R. Davis
                                          Kristopher R. Davis




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